     6:13-cv-00240-RAW Document 2 Filed in ED/OK on 05/31/13 Page 1 of 8




                  IN THE UNITED STATES DISTRICT COURT
                                                            eY.
                      EASTERN DISTRICT OF OKLAHOMA


KELLY BRYANT and HOLLIE BRYANT,

                  Plaintiffs,

v.                                            Case No.
                                                         CIV 1 3- 2 4 0- KEW
SAGAMORE INSURANCE COMPANY,

                  Defendant.


                                 COMPLAINT

      The Plaintiffs,    Kelly Bryant and Hollie Bryant           (hereinafter

"Bryants"), by and through their attorneys of record, Lytle,             Soul~


& Curlee, P.C., and Mikel Flores, P.C., for their cause of action

against   the   Defendant,   Sagamore     Insurance   Company     (hereinafter

"Sagamore"), allege and state:


                          JURISDICTION AND VENUE

                                     I.

      Plaintiffs are residents of Carter County, State of Oklahoma,

and citizens of the State of the Oklahoma at the time of the filing

of this action.




                                      1
   6:13-cv-00240-RAW Document 2 Filed in ED/OK on 05/31/13 Page 2 of 8




                                     II.

     Defendant,    Sagamore      Insurance    Company,      is   a   corporation

domiciled in the      State of    Indiana with its principal place of

business in Indianapolis, Indiana.

                                    III.

     Sagamore   may   be   served   with     process   by    and     through   its

registered agent: CT Corporation System, 251 E. Ohio Street, Suite

1100, Indianapolis, Indiana 46204.

                                     IV.

     The acts and/or omissions giving rise to this lawsuit occurred

in Carter County, which is in the Eastern District of Oklahoma.

                                     v.

     The amount in controversy, exclusive of interest and costs, is

in excess of Seventy-Five Thousand Dollars             ($75,000.00),     thereby

providing this Court with jurisdiction and venue.

                                    VI.

     This Court has     jurisdiction by reason of the diversity of

citizenship between Plaintiff and Defendant, pursuant to 28 U.S.C.

§1332 and 28 U.S.C. §1391.




                                      2
   6:13-cv-00240-RAW Document 2 Filed in ED/OK on 05/31/13 Page 3 of 8




                             FACTUAL BACKGROUND

                                     VII.

     On or about May 25, 2011, Kelly Bryant purchased an automobile

policy    with   Sagamore,   Policy No.      65 4 67 7,   which,   at   all   times

material, was in full force and effect.

                                     VIII.

     Kelly Bryant made all premium payments as required under the

policy.

                                      IX.

     The policy issued by Sagamore and similar policies issued by

it are designed to provide policyholders with insurance in the

event of motor vehicle accidents.

                                      X.

     While this policy was in force and effect on June 29th, Hollie

Bryant had an accident with a Cuba Lawrence on State Highway 70 in

Carter County.

                                      XI.

     The   Bryants made      a   claim upon    their      carrier and Sagamore

denied coverage.      In spite of repeated requests by the Bryants,

Sagamore not only denied coverage but refused to provide a defense.




                                       3
   6:13-cv-00240-RAW Document 2 Filed in ED/OK on 05/31/13 Page 4 of 8




                                          XII.

     As a direct result of Sagamore's acts and omissions, a lawsuit

was filed in Carter County on May 2, 2012, by Cuba Lawrence against

Hollie Bryant, Case No. CJ-2012-120.

                                         XIII.

     Throughout the pendency of that action, both the Bryants and

attorneys for Lawrence continued to demand that Sagamore honor its

obligations      under the policy and provide a                    defense   as   well    as

indemnification to Hollie Bryant.                   Sagamore refused.

                                          XIV.

     As a result of Sagamore's refusal to honor the terms of the

policy it issued, Cuba Lawrence received a judgment in the amount

of $694,458.23.

                                          X)J.


     Sagamore      continues     its     unlawful        refusal    to   pay under       its

policy,   claiming that         Hollie    Bryant was         an excluded driver           in

derogation of Oklahoma extant law, both breaching its contract and

failing     to   act   fairly    and     in       good   faith   with    regard   to     its

insureds.




                                              4
    6:13-cv-00240-RAW Document 2 Filed in ED/OK on 05/31/13 Page 5 of 8




                           FIRST CAUSE OF ACTION

                               BREACH OF CONTRACT

     The Plaintiffs,       Kelly Bryant and Hollie Bryant,                 for their

First Cause of Action against the Defendant,                     Sagamore Insurance

Company, adopt and reallege the factual allegations set forth in

numerical paragraphs       I   through XV heretofore,             and in addition,

allege:

                                      XVI.

     The    Sagamore     policy   constitutes       a     valid    and    enforceable

insurance contract between Plaintiffs and Sagamore.

                                     XVII.

     The Plaintiffs have fully performed and abided by all the

terms and conditions of that insuring agreement.

                                     XVIII.

     Sagamore breached and continues to breach the above-referenced

insuring agreement by failing to pay the judgment rendered against

Hollie    Bryant   for   which    Sagamore    had       actual    and    constructive

notice.

                                      XIX.

     As a result of Sagamore's breach, the Plaintiffs have suffered

and will continue to suffer damages, including but not limited to,

the loss of coverage, anxiety,         frustration, mental and emotional


                                       5
   6:13-cv-00240-RAW Document 2 Filed in ED/OK on 05/31/13 Page 6 of 8




distress, the rendering of a judgment in the amount of $694,458.23

with the attendant sleeplessness and emotional distress accompanied

thereto,   required to incur attorney fees and expenses,                 all as a

direct result of the breach of contract of Sagamore.


                            SECOND CAUSE OF ACTION

                                  BAD FAITH

     The   Plaintiffs,      Kelly Bryant and Hollie Bryant,             for their

Second Cause of Action against the Defendant, Sagamore Insurance

Company, adopt and reallege the factual allegations set forth in

numerical paragraphs I        through XIX heretofore,         and in addition,

allege:

                                     XX.

     Sagamore wrongfully failed and refused to promptly accept

coverage   for   the   underlying    claim      of     Lawrence   v.   Bryant   and

improperly denied coverage in derogation of Oklahoma law.

                                    XXI.

     Upon information and belief, Sagamore, as a matter of routine

business   practice    in    handling       Oklahoma    claims,   knowingly     and

intentionally breaches its duty to deal fairly and act in good

faith toward the Plaintiffs and other similarly situated by:




                                        6
      6:13-cv-00240-RAW Document 2 Filed in ED/OK on 05/31/13 Page 7 of 8




       A.    Failing to be licensed as adjusters in Oklahoma;

       B.    Failing to become even moderately familiar with the
             laws of the State of Oklahoma;

       C.    Failing to diligently or properly investigate the
             Plaintiffs' claim;

       D.    Failing to provide a defense to the Lawrence v.
             Bryant matter in derogation of the policy and
             Oklahoma law; and,

       E.    Failing to defend and indemnify or to settle the
             underlying the claim of Lawrence v. Bryant.

                                           XXII.

       Sagamore     has    violated     36        O.S.    §    1250.1      in   handling   the

Plaintiffs'     claims         for   which    the        Plaintiffs     are     entitled    to

damages, statutory interest and attorney fees as allowed by law.

                                         XXIII.

       Plaintiffs have suffered damages,                      including but not limited

to,   the    loss   of     coverage,         anxiety,         frustration,       mental    and

emotional distress, the rendering of a judgment in the amount of

$694,458.23 with the attendant sleeplessness and emotional distress

accompanied thereto, required to incur attorney fees and expenses,

all as a direct result of the breach of contract and bad faith of

Sagamore.

                                           XXIV.

       Sagamore acted wrongfully, intentional and with malice and/or

has   been   guilty       of    reckless      disregard         of   the    rights   of    the

                                              7
   6:13-cv-00240-RAW Document 2 Filed in ED/OK on 05/31/13 Page 8 of 8




Plaintiffs      therefore    entitling       the   Plaintiffs     to   an   award    of

exemplary damages.

       WHEREFORE,    the Plaintiffs,         Kelly Bryant and Hollie Bryant,

pray    for    judgment     against   the     Defendant,      Sagamore      Insurance

Company,      in an amount in excess of Seventy-Five Thousand Dollars

($75,000.00), plus interest, costs, and such other relief allowed

by law.

                                      Respectfully submitted,

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ATTORNEYS' LIEN CLAIMED.

JURY TRIAL DEMANDED.
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                                         8
